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UNITED STATES OF AMERICA

 

 

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V' case No. 4:18-€1§-137§§---1;;5;;;---»~:;
sERAFIN sANCHEz RUIZ
W_U_ME_
Mcmm

Count One - Enticement of a Minor, in violation of 18 U.S.C. § 2422(b).

Count Two - Possession of a Visual Depiction of a Minor Engaged in
Sexually Explicit Conduct, in violation of 18 U.S.C. §2252(a)(4)(B).

M§ Count One - Enticement of a Minor, in violation of 18 U.S.C. § 2422(b).
PENALTY:
The minimum and maximum penalties the Court can impose on Count One
include:
a. §nfiprisonment for a period not less than 10 years, and not more than
1 e;

b. a fine not to exceed $250,000;

c. a term of supervised release of any term of years or life but not less
than five years, Which is mandatory under the law and Will follow
any term of imprisonment lf the defendant violates the conditions
of supervised release, he could be imprisoned for the entire term of
supervised release and multiple revocations of supervised release
may result in a term of imprisonment that exceeds the maximum
term of supervised release;

d. a mandatory special assessment of $100;

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e. an additional mandatory special assessment of $5,000 must also be
imposed pursuant to 18 U.S.C. .§ 3014 for offenses occurring on or
after May 29, 2015, unless the Court finds the defendant to be
indigent;

f. restitution to victims or to the community, which is mandatory under
the law; and

g. costs of incarceration and supervision

ELEMENTS OF THE GFFENSE:

 

To establish the offense alleged in Count One of the Indictment, the

government must prove the following elements beyond a reasonable doubt:

First: That the defendant knowingly attempted to persuade, induce, or
entice an individual to engage in sexual activity;

Second: That the defendant used a facility or means of interstate commerce,
that is, a cellular telephone or a computer connected to the Intemet;

Third: That the defendant believed that such individual was less than 17
years of age; and

Fourth: That, had the sexual activity actually occurred, the defendant could
have been charged with a criminal offense under Texas state law,
that is, a violation of Texas Penal Code Section 22.011(a)(2), Sexual
Assault of a Child.

STIPULATED FACTS:

 

The stipulated facts that support the defendant’s plea of guilty to Count One of the
Indictment are as follows:

From on or about March 29, 2017, through on or about March 30, 2017, in the
Northern District of Texas, defendant Serafin Sanchez Ruiz, using facilities of interstate
commerce, that is a cellular phone and/or computer connected to the internet, did
knowingly attempt to persuade, induce, and entice an individual whom he believed was
under 17 years old, to engage in sexual activity for which a person can be criminally
charged under Texas state law, that is a violation of Texas Penal Code Section
22.011(a)(2), Sexual Assault of a Child.

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Specifically, on or about March 29, 2017, Serafin Sanchez Ruiz, a 27-year-old
male, contacted a 14-year-old female (MV) on the social media application,r Whisper,
using the screenname “Mr.” During their conversations, MV told Ruiz that she was 14
years old. Ruiz, however, continued cormnunicating with MV, and requested MV to
give him her address. Ruiz eventually induced MV to sneak out of her house and meet
him.

On or about March 30, 2017 , Ruiz drove from his house in Desoto, Texas, to
MV’s house in Arlington, Texas, picked up MV, and then drove her back to his house.
At Ruiz’s residence, Ruiz and MV engaged in sexual intercourse. MV remained at
Ruiz’s residence for approximately three to four hours, then Ruiz drove MV back to her
house in the early morning hours of March 31, 2017 . Ruiz acknowledges that he picked
up MV and drove her back to his house hoping to engage in sexual intercourse with her.
The sexual intercourse that Ruiz intended to engage in, and did in fact engage in, with
MV is a violation of Texas Penal Code § 22.01 l(a)(Z).

MV’s mother later discovered the incident and contacted the Arlington Police
Department. In response, officers from Arlington Police Department assumed MV’s
online identity. On May 10, 2017, an Arlington Police Department officer acting in an
undercover capacity (UCA), using MV’s cellular phone and posing as MV on the
Whisper application, contacted Ruiz. Ruiz quickly responded “I’ve been wanting to see
you ever since that night :/ lol.” Within 25 minutes of the UCA’s initial message, Ruiz
asked if he could meet MV again. The UCA and Ruiz then arranged to pick-up MV at
her house after everyone went to sleep and return to his house. Ruiz asked for MV’s
address again and agreed to bring condoms.

On May 10, 2017, Ruiz arrived at MV’s residence at the agreed time and was
arrested. Ruiz, after receiving his Miranda warnings, was interviewed at the time of his
arrest and again, at his request, after he was booked into jail. Ultimately, Ruiz admitted
that he:
contacted MV through the Whisper application;
induced MV to give him her address;
knew MV was 14 years old;
had previously picked MV up from her home and drove her back to his
house where he engaged in sexual intercourse°with l\/IV; and
¢ arrived at MV’s residence on May 10, 2017, hoping to engage in sexual

intercourse again with her.

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To connect to the Whisper application, a user has to connect to the Internet. Ruiz
acknowledges that the Intemet and cellular phones are both means and facilities of
interstate and foreign commerce,

apr
AGREED AND sTIPULATED on this \S day of Augusi 2018.

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tim §§ChCZ Rui£ Michael Lowe
Defendant Counsel for Defendant

l have been advised, and understand, that under the Sex Offender Registration and

§ Notification Act, a federal law, l must register and keep the registration current in each of

the following jurisdictions: where I reside; where I am an employee; and where I am a
student. I understand that the requirements for registration include providing my name,
my residence address, and the names and addresses of any places where I am or will be
an employee or a student, among other information I further understand that the
requirement to keep the registration current includes informing at least one jurisdiction in
which I reside, am an employee, or arn a student not later than three business days after
any change of my name, residence, employment, or student status. l have been advised, y
and understand, that failure to comply with these obligations subjects me to prosecution
for failure to register under federal law, 18 U.S.C. § 2250, which is punishable by a

fine or imprisonment or both.

%/¢; /<’ f /§“/w/g
M§anchez Ruiz § Date/ /
Defendant

I am the defendant’s counsel. I have carefully reviewed every part of this Factual
Resume with the defendant, including the notice that he is required to register as a sex
offender. To my knowledge and belief, my client’s decision to enter into this Factual
Resume is an informed and voluntary one.

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Michael Lowe Date
Attomey for Defendant

 

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